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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )        Case No. 4:10CR3042
                                                  )
MARCUS ARNETT POLK,                               )
                                                  )
                            Defendant.            )

                                          ORDER

       THIS MATTER comes before this Court on defendant's Unopposed Motion to

Continue Sentencing Hearing, filing 90. The Court, being fully advised in the premises, and

noting the Government has no objection, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that sentencing in the above captioned matter shall

be continued until the 1st day of June, 2011, at 1:00 p.m. The defendant is ordered to appear

at said time.

       DATED this 1st day of April, 2011.

                                                  BY THE COURT:

                                                  Richard G. Kopf
                                                  United States District Judge
